                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WISCONSIN


 ROGER EDWARDS,

                               Plaintiff,
         v.                                                                 ORDER

 WARDEN JENNIFER MCDERMOTT                                               21-cv-654-jdp
 and JULIE LUDWIG,

                               Defendants.


       Pro se plaintiff Roger Edwards filed this civil action in Dane County Circuit Court

against prison staff at Kettle Moraine Correctional Institution. He contends that defendants

violated his Eighth Amendment rights and were negligent by failing to prevent the spread of

Covid-19 at the prison. Defendants removed the case to federal court and then filed a motion

to transfer the case to the Eastern District of Wisconsin. Dkt. 3. Edwards filed a brief in

opposition to transfer and requests that the case be remanded back to state court. He argues

that his case belongs in state court because it includes a state law tort claim.

       I will deny Edwards’s request that the case be remanded to state court, because removal

was proper under 28 U.S.C. § 1441(a). That statute permits defendants to remove a civil action

brought in state court if the action includes a federal claim over which a federal court has

original jurisdiction. Although Edwards’s complaint includes a state law negligence claim, it

also includes an Eighth Amendment claim, which is a federal claim over which this court has

original jurisdiction.

       I will grant defendants’ motion to transfer because defendants’ evidence shows that

venue is proper only in the Eastern District of Wisconsin. Edwards and defendants reside in

the Eastern District of Wisconsin, and the incidents at issue in this case occurred at Kettle



          Case 2:21-cv-01288-BHL Filed 11/08/21 Page 1 of 2 Document 10
Moraine Correctional Institution, which is in the Eastern District of Wisconsin. See 28 U.S.C.

§ 1391(b) (venue is proper where defendants reside or where the events giving rise to the claim

took place). Accordingly, I will grant defendants’ motion and will transfer this case to the

Eastern District of Wisconsin.



                                           ORDER

       IT IS ORDERED that defendants’ motion to transfer this case to the Eastern District

of Wisconsin, Dkt. 3, is GRANTED. This case is TRANSFERRED to the Eastern District of

Wisconsin.




          Entered November 8, 2021.

                                           BY THE COURT:

                                           /s/
                                           ________________________________________
                                           JAMES D. PETERSON
                                           District Judge




                                              2

         Case 2:21-cv-01288-BHL Filed 11/08/21 Page 2 of 2 Document 10
